Case 3:10-cv-04493-JAP-TJB Document 77-1 Filed 10/21/13 Page 1 of 6 PageID: 564
Case 3:10-cv-04493-JAP-TJB Document 77-1 Filed 10/21/13 Page 2 of 6 PageID: 565
Case 3:10-cv-04493-JAP-TJB Document 77-1 Filed 10/21/13 Page 3 of 6 PageID: 566
Case 3:10-cv-04493-JAP-TJB Document 77-1 Filed 10/21/13 Page 4 of 6 PageID: 567
Case 3:10-cv-04493-JAP-TJB Document 77-1 Filed 10/21/13 Page 5 of 6 PageID: 568
Case 3:10-cv-04493-JAP-TJB Document 77-1 Filed 10/21/13 Page 6 of 6 PageID: 569
